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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 24-cr-220 (RDM)
               v.                             :
                                              :
CHRISTINA CHAPMAN,                            :
                                              :
                       Defendant.             :

                                    JOINT STATUS REPORT

       The United States and counsel for defendant Christina Chapman hereby file this joint status

report, as required by the Court:

       1. On June 4 and August 5, 2024, the government provided two tranches of discovery

           documents. A third tranche has been made available to defense on August 21, 2024,

           and the government is awaiting receipt of a device to copy the same for defense.

       2. On August 28, 2024, the government provided a plea offer to defense.

       3. Due to the volume of discovery and the press of other business, defense needs

           additional time to review the discovery and discuss the plea offer with the defendant.

           Defense counsel has trials scheduled in both September and October.

       4. The parties jointly ask the Court to status hearing or set a date for a status report for the

           week of December 2, 2024.

       5. The parties agree that it is appropriate for the Court to toll the Speedy Trial Act in the

           interests of justice until that status occurs or the report is due (as appropriate), and

           jointly request the Court toll time under the Speedy Trial Act.



Dated: August 30, 2024

                                              Respectfully submitted,



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                           For the United States

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